                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

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  RUTH SMITH, Individually and as Widow                          )
  for the Use and Benefit of Herself and the                     )
  Next of Kin of RICHARD SMITH, Deceased,                        )   Case #: 3:05-00444
                                                                 )   Judge Trauger
                                      Plaintiff,                 )
                                                                 )
                    -against-                                    )
                                                                 )
  PFIZER INC., PARKE-DAVIS,                                      )
  a division of Warner-Lambert Company                           )
  and Warner-Lambert Company LLC,                                )
  WARNER-LAMBERT COMPANY,                                        )
  WARNER-LAMBERT COMPANY LLC and                                 )
  JOHN DOE(S) 1-10,                                              )
                                                                 )
                    Defendants.                                  )
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   STATEMENT OF PLAINTIFF’S EXPERT, MICHAEL TRIMBLE, M.D., AS TO
      SPECIFIC CAUSATION, PURSUANT TO LOCAL RULE 39.01(c)(6)(c)


  [Gabapentin was A Cause of Richard Smith’s Suicide : continued from General
  Causation Statement]

  In addition to my opinion on general causation --- that Neurontin (Gabapentin) can cause
  depression and suicidality, I am here to explain and provide my opinion of how Mr.
  Richard’s Smith’s ingestion of Neurontin was a substantial factor in causing his suicide
  on May 13, 2004. My opinion is given with a reasonable degree of medical certainty.

  Mr. Richard Smith shot himself in the early hours of the morning of May 13, 2004 having
  been on gabapentin only 65 days.

  Turning our attention to the effect Gabapentin had on Mr. Smith, it is necessary to
  examine Mr. Smith’s prior psychiatric and physical condition leading up to his death.
  Richard was 79 years old when he died. He was reasonably healthy for his age, but for a
  chronic orthopaedic pain syndrome related to his joints and back.

  To form the bases of my opinion, I have reviewed materials, including medical records
  from Mr. Smith’s treating doctors for several years prior to his death. I have reviewed




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  the deposition testimony from witnesses in this case1 and a DVD which relates to Mr.
  Smith’s personal family history. I have also reviewed the expert report prepared by Dr.
  Ron Maris, a suicidologist, who has also been retained by the Smith family’s attorneys as
  an expert in this case.2

  Mr. Smiths family history is significant that no one in his family history is known to have
  died by suicide and there is no known history of any family member with a psychiatric
  disorder.

  While Mr. Smith had no family history or personal history of any psychiatric disorder, he
  did have a number of medical problems that caused him pain of various degree for a
  number of years. He had two knee replacements and a hip replacement in the 1990’s, the
  first of which was in 1993. Going through the records there are some mentions that Mr.
  Smith was “depressed” because of pain. However, it is clear that this was not used in a
  psychiatric sense.

  What do I mean? Well, a clinical diagnoses of depression – which is a risk factor for
  suicide – is far different than a transient feeling of low mood. In fact, there are
  indications in the medical records that although he was in a lot of pain, he was actually
  doing well. He was continuing with work, he was continuing to go to church and he was
  coping adequately up to the time of his death.

  Following a history of increasing back pain, he had back surgery in 2002 and April 2003.
  During the time leading up to these surgeries, the medical records indicate the increased
  back pain had a negative effect on Mr. Smiths mood.

  Prior to his second back surgery, his daughter was obviously concerned about him as she
  reported to Mr. Smith’s doctor, Dr. Paul McCombs, that her father wished to die because
  of his pain and depression and there was a suggestion that he should go for psychiatric
  evaluation. This was on May 2, 2003.

  We know, however, by October 13, 2003, after his second back surgery, Mr. Smith
  himself wrote in a copy along side the reference to his daughters comment. Lets take a
  look at the medical record from Neurosurgical Associates and Dr. Paul McCombs.

  It says, “I was not aware that my daughter spoke to Dr. McCombs. I was in a lot of pain
  and medication and could have said something like this. I am healthy and still working
  some when possible.”




  1   Trimble Depo. Transcript (September 2, 2009), at pp. 50-53 (referencing depositions).
  2   Trimble Depo. Transcript (September 2, 2008), at p.51 (referencing report of Maris, PhD).



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Case 3:05-cv-00444 Document 180-2 Filed 04/27/10 Page 3 of 10 PageID #: 4260
  In the winter of 2003/2004, Mr. Smith described a return of pain and shooting pains
  down the legs, which caused him to seek further medical care and he was referred to Dr.
  Edward MacKey, who evaluated him for the possibility of a further operation. Prior to
  any surgical intervention the records indicate Dr. Mackey wanted to rule out any
  dementia. As you can see from the record of March 9, 2004, Dr. Mackey writes:

  “His daughter raised the concern though about whether or not there are some other issues
  going on and we are going to go ahead and have him evaluated psychiatrically to make
  sure there is not a dementia type issue playing into this as well.”




  We know from a review of an Eckerd Pharmacy prescription receipt that Mr. Smith
  filled a Neurontin prescription from Dr. Mackey on March 9, 2004. The prescription
  document reflects that he filled “Neurontin 300 mg”, 60 pills, for a 30 day supply.
  So, I interpret this to mean a prescription of 2 pills per day for 30 days.




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  We also have the benefit of a March 24, 2004 medical record from Mr. Smith’s doctor at
  Neurosurgical Associates reflecting his prescription for Neurontin. It states, “I have
  discussed at length a treatment plan. He will have an ESI and start Neurontin 300 mg,
  p.o. tid. He will follow up with Dr. McCombs.”

  What does “p.o.” mean? That means he is to take the Neurontin by mouth. What does
  “tid” mean? That means he is to take this dose 3 times daily. So, the total dose at that
  time was to be 900 milligrams per day.




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  In addition to the prescription, my understanding from witness deposition testimony is
  that Mr. Smith was given several additional pills through doctor samples. What does this
  mean? This means that Mr. Smith received Neurontin directly from the doctor’s office as
  opposed to having to travel to the pharmacy and fill a prescription.

  On April 14, 2004,Mr. Smith began physical therapy at the UMC-Pain Center, in
  Nashville. He indicated he was taking his Neurontin, along with Lortab and Advil.
  He also indicated he had been treated or diagnosed with “depression, anxiety”.




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  Mr. Smith’s use of Neurontin is also reflected in a medical record of May 5, 2004, just
  8 days before he committed suicide. On May 5, 2004, Mr. Smith called Dr. McCombs
  office whose record indicates “He states that he is taking advil, Neurontin, lortab
  “with no relief.”




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  There is evidence that Mr. Smith considered that the gabapentin was affecting him
  mentally. He told his wife that he considered there was something wrong with his mind
  and that he did not think like he used to. He told his son-in-law that he felt “loopy”, and
  that gabapentin made him feel weird.

  In my capacity as a scientist, medical doctor, and expert in this case, I have considered
  Mr. Smith’s social and medical history to account for things in Mr. Smith’s life that could
  have led him to commit suicide. Suicide is a very rare event that has been substantially
  studied in the medical community. While suicide is a devastating end point of
  psychopathology, there are a number of predictors of people who are most at risk of
  suicidal behavior. Those at higher risk are people who live alone, those with alcohol or
  drug dependence, those with known severe psychiatric disorders, such as a major
  depressive disorder or schizophrenia, and those who have had previous attempts to harm
  themselves. Each of these risk factors exponentially increase the risk one may die by
  suicide and the absence of these risk factors predictably indicate it is not likely one will
  die by suicide.

  None of these known risk factors for suicide are present in the past history of Mr. Smith.
  He grew up in a secure, parental background; there is no known history of any psychiatric
  disorder; he has demonstrated a steady work record with a single employer for many
  years, and he also had an alternative additional noble career as a church minister.

  It is my opinion that absent a chemical change in Mr. Smith’s brain by a pharmaceutical
  agent, it was not likely at all Mr. Smith would have committed his suicide.




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  Once Mr. Smith began taking Gabapentin, it is my opinion that his mental state altered.
  Mr. Smith’s altered mental state was consistent with the way I have earlier described how
  Gabapentin can cause depression and suicidality.

  There are additional points in the evidence I must bring to your attention. Following the
  start of taking Gabapentin, Mr. Smith’s wife has testified under oath that Mr. Smith
  expressed suicidal ideation when he inquired; “honey, you think God would forgive me if
  I just do away with myself. “

  In addition, on May 10, 2004, just a few days before his suicide, Mr. Smith told his
  dentist, Dr. Wood, that Gabapentin made him “feel weird” and that it was not helping
  him. Mrs. Smith’s own discussion about his behavior in the few weeks while he was on
  gabapentin and before he killed himself was that he believed there was something wrong
  with his mind.




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  Mr. Smith had a very strong protection from suicide. Mr. Smith was a devout
  Churchman, with strong religious beliefs leading to a life time career of helping others,
  counseling others and working assiduously for the church. One of the protective factors
  that is associated with less suicidal behavior is strong religious beliefs. Thus, suicidal
  ideation and religious beliefs are inversely correlated. Given Mr. Smith’s strong religious
  affiliation it is my opinion on the balance of probabilities that but for the ingestion of
  Gabapentin it is very unlikely Mr. Smith would have died by suicide.

  Finally, I would like to point out to you that Mr. Smith’s use of Neurontin – only a little
  over 2 months --- is consistent with the U.S. FDA’s analysis for increased risk of suicidal
  behavior with anticonvulsant drugs. The FDA observed that increased risk for suicidal
  behavior continued through at least 24 weeks, or 6 months. Mr. Smith’s use of Neurontin
  falls squarely within the time period studied.

  Therefore, in the absence of recognizable psychiatric disorder, the spontaneous and
  impulsive nature of his suicidal act requires explanation. Gabapentin is associated with
  changes of brain chemistry which, I find with a reasonable degree of scientific and
  medical probability, leads to impulsive and suicidal acts. It is therefore my opinion that it
  is more likely than not the Gabapentin was a substantial factor in Mr. Smith committing
  suicide.




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